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Exhibit L
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Hey Kyle,

Hope all is well!

Just wanted to check in to find out if the traffic will be starting this morning.
Please let me know when you have a chance.

Regards,

Andre

Kyle Danna <kyle.danna@selu.edu> oe Wed, Sep 5, 2012 at 9:53 AM
To: Andre Zouvi <andre@reachmg.com>

Hey bud, still not up and running just yet, should definitely be by this evening though!

Kyle Danna <kyle.danna@selu.edu> . Wed, Sep 5, 2012 alt 4:48 PM
To: Andre Zouvi <andre @reachmg.com>

Going to be working late into the night getting set up to send, but everything should be all good to
have a really big day for tomorrow, Can you please let me know the conditions involving this custom
offer you guys have provided me? I just want to have everything totally clear before | start sending
traffic to it tonight.

Thanks again bud!

Andre Zouvi <andre@reachmg.com> ‘Wed, Sep 5, 2012 at 5:04 PM
To: Kyle Danna <kyle.danna@selu.edu>

Bec: emailtosalesforce @63mrb6pn601 bevzor4 g4baiu7 .28h6deaa,2 Je.salesforce.com
Hey Kyle,
That's great news!

Special Instructions:

TRAFFIC TYPES: All traffic except incentivized and co-reg path traffic

FILTERS: Mail to all states except WV.GA,PA,OH; Do not mail to .mil, .gov, addresses; 21+ years
of age; income >1500 /month.

Also:

1. Company names other than the site if you use a name.(NO BANK NAMES)

2. Can not use amount over $1000

3, Can not say no credit checks (you can say "No credit needed, or bad credit OK, cash for any credit
type, etc.)

4, Can not say cash in 2 hours ( you can say "in a matter of hours" or "by tomorrow morning" or
"within 24 hrs"),
